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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-1284V
                                      Filed: August 13, 2019
                                          UNPUBLISHED


    DOLORES GORCZYCA,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                        Respondent.


Nancy Routh Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On August 24, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that as a result of an influenza (“flu”) vaccination
administered on October 3, 2017, she developed Guillain-Barré Syndrome (“GBS”).
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On August 12, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, “it is respondent’s position that petitioner has satisfied the criteria set
forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation for a flu/GBS Table injury.” Id. at 6. Respondent further agrees that
“petitioner’s condition has persisted for at least six months, and there is no alternative
cause that explains her condition.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                     s/Nora Beth Dorsey
                                     Nora Beth Dorsey
                                     Chief Special Master




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